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 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
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1 1 ~ UNITED STATES OF AMERICA,

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                                         Plaintiff,              CASE NO. CR-18-00512-MWF
13
                               v.                                ORDER OF DETENTION AFTER
14                                                               HEARING (Fed.R.Cim.P. 32.1(a)~6)
      MELODY LEIGH BASYE,                                        18 U.S.C. § 3143(a) Alle ations o
15                                                               Violations of Probation/supervised
                                         Defendant               Release Conditions)
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          On arrest warrant issued by the United States District Court for the
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     ~~- ~~~Slr►C~ o~ ~ll~;-~orvu.ainvolving                 alleged      violations        of   conditions     of
19
     probation supervised release:
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               1. The court finds that no condition or combination of conditions will
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                      reasonably assure:
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                      A. (~ the appearance of defendant as required; and/or
23
                      B. ( )   the safety of any person or the community.
24
               2. The Court concludes:
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                      A. ( ) Defendant has failed to demonstrate by clear and convincing
26
                               evidence that he is not likely to pose a risk to the safety of any
27

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                                    ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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  1                          other persons or the community. Defendant poses a risk to the
  2                          safety of other persons or the community based on:
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 8                   B. (Vj Defendant has failed to demonstrate by clear and convincing
 9                           evidence that he is not likely to flee ifreleased. Defendant poses
10                           a flight risk based on: ~O~.tu,~'Q of o~~'1.5~5 ; L~,n k~,~wvt..
 1~                            Y'e~,'~12n~.~.; ono b ~i 1 reso u,~'~s ; per ~~eus
 12                           stn-bStAne~ r~,b u~c. ism ~s
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16            IT IS ORDERED that defendant be detained.
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20 DATED: November22021                              Vll~~
                                                    HONORABL ALICIA ROSENBERG
21                                                  UNITED STATES MAGISTRATE NDGE
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                               ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(1))

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